Case 8:18-cv-02220-DOC-KES Document 109 Filed 06/01/20 Page 1 of 3 Page ID #:3263



    1   Faith A. Devine, Esq. (SBN 146744)
    2   faith@fraudlawgroup.com
        5857 Owens Avenue, Suite 300
    3   Carlsbad, California 92008-5507
    4   Telephone : 760-482-7095
        Facsimile : 760-400-8361
    5
    6   Court Appointed Receiver

    7
    8                          UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10
   11    SECURITIES AND EXCHANGE                     Case No. 8:18-cv-02220-DOC-(KESx)
         COMMISSION,
   12                                                RECEIVER’S NOTICE OF AND
                         Plaintiff,                  FIRST INTERIM FEE
   13                                                APPLICATION
               v.
   14
                                                     Judge :       Hon. David O. Carter
         CRAIG ARSENAULT, ATLAS
   15    CAPITAL MANAGEMENT, INC.,                   Ctrm :       9D
         and ACT GLOBAL                              Date:        June 29, 2020
   16    INVESTMENTS,                                Time:        8:30 a.m.
   17                    Defendants.
   18
   19
              TO ALL PARTIES:
   20
              On June 29, 2020, Faith A. Devine, Court-appointed Receiver will present
   21
        her First Interim Fee Application to the Court for approval. Any opposition shall
   22
        be filed on or before 21 days before the scheduled hearing date of June 29, 2020.
   23
              Faith A. Devine, Court-appointed Receiver was appointed by Preliminary
   24
        Injunction entered December 27, 2019 (ECF No. 14). The Preliminary Injunction
   25
        directs that, “[a]ll applications for costs, fees, and expenses for services rendered in
   26
        connection with the receivership other than routine and necessary business
   27
        expenses in conducting the receivership, such as salaries, rent, and any and all other
   28

                                                                                 Case No. 8:18-cv-02220
                                                                           INITIAL FEE APPLICATION
Case 8:18-cv-02220-DOC-KES Document 109 Filed 06/01/20 Page 2 of 3 Page ID #:3264



    1   reasonable operating expenses, shall be made by application setting forth in
    2   reasonable detail the nature of the services and shall be heard by the Court.”
    3   (Section XI, page 10.)
    4         Further, Section IX(G) of the Preliminary Injunction directs the Receiver to
    5   “employ attorneys, accountants, and others to investigate and, where appropriate, to
    6   institute, pursue, prosecute and defend all claims and causes of action of whatever
    7   kind and nature which may now or hereafter exist as a result of the activities of
    8   present or past employees or agents of the “Receivership Entity”.”
    9         The Receiver now submits this First Interim Fee Application for approval to
   10   pay the following for services rendered during the period January 2, 2019 through
   11   May 31, 2020: $42,273.10 in fees and expenses of the Receiver and staff to be
   12   paid to Faith A. Devine dba Fraud Law Group, and $119,020.35 in fees and
   13   expenses of the Receiver’s counsel, Weiland, Golden & Friedman.
   14         The requested fees and expenses, and the invoices regarding them, are
   15   detailed and reviewed in the Declaration of Faith A. Devine filed concurrently with
   16   this Application.
   17         This Application is made pursuant to Section XI of the Preliminary
   18   Injunction and is based upon this Notice of Application, the Declaration of Faith A.
   19   Devine, and upon such other pleadings and oral and documentary evidence as may
   20   be presented at or before the time of the hearing on the Application.
   21
   22                                                 Respectfully submitted,
   23   Dated: June 1, 2020                           Faith A. Devine, Receiver
   24
   25                                                 By: /s/ Faith A. Devine
   26
   27
   28
                                                                              Case No. 8:18-cv-02220
                                                                         INITIAL FEE APPLICATION
Case 8:18-cv-02220-DOC-KES Document 109 Filed 06/01/20 Page 3 of 3 Page ID #:3265



    1                                CERTIFICATE OF SERVICE
    2
    3
                 I hereby certify that on June 1, 2020, I caused the foregoing to be electronically

    4
        filed with the Clerk of the Court using the CM/ECF system, which will send

    5
        notification of the filing to all participants in the case who are registered CM/ECF

    6
        users.

    7
                                                         /s/ Faith A. Devine
    8                                                    FAITH A. DEVINE
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                                  Case No. 8:18-cv-02220
                                                                             INITIAL FEE APPLICATION
